                  Case 2:17-mj-00578-DEM Document 15 Filed 10/01/18 Page 1 of 2 PageID# 28
                                                                                                    FLED
Prob 12(10/09)
VAE (rev. 5/17)
                                     UNITED STATES DISTRICT COUR^                                 OCT -1 2018
                                                         for the
                                      EASTERN DISTRICT OF VIRGINIA                           CLtAK, U S D:STR1CT COURT
                                                                                                   N0^r"0:.!<, VA


U.S.A. vs. Caylon S. Blocker                                        Docket No. 2:17MJQ0578-001


                                                   Petition on Probation


          COMES NOW Teresa R. Simms. PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Cavlon S. Blocker, who was placed on supervision by the Honorable
Douglas E. Miller, United States Magistrate Judge sitting in the Court at Norfolk, Virginia, on the ^ day of
April. 2018, who fixed the period of supervision at six (6) months, and imposed the general terms and
conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:

The defendant is to perform 50 hours of community service per Probation.


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                                      See Attachment(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.




ORDER OF COURT                                                    I declare under the penalty of perjury that the
                                                                  foregoing is true and correct.
                                        r
Considered and ordered this            1    day of
20_i^_ and ordered filed and made a part of the                   Executed on
records in the above case.


                                                                          R.         >
                                                                    f.S. Probation Officer
              Uilii
                        Douglas E. Miller                         Place Newport News. Virginia
                  United States Magistrate Judge




TO CLERK'S OFFICE
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